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     ANDREW RAUCH, APC
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8                                   UNITED STATES DISTRICT COURT
9                                SOUTHERN DISTRICT OF CALIFORNIA
10
     NOVALK, LLC,                             )                Case No.: 21cv973-BEN-LL
11                                            )
                                              )
12               Plaintiff,                   )                DECLARATION OF
           v.                                 )                ANDREW K. RAUCH
13                                            )                IN RESPONSE TO
     SEDGWICK; JESUS MONTIJO; and DOES 1- )                    ORDER TO SHOW CAUSE
14
     100,                                     )
                                              )
15                                            )
                 Defendants.                  )                General Jurisdiction – Civil
16                                            )                Jury Trial Requested on all Issues so Triable
                                              )
17                                            )
     ________________________________________ )
18

19
     I, ANDREW K. RAUCH, hereby declare as follows:
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21
            1.       I am an attorney licensed to practice law in the State of California and in this Southern
22
     District of the United States District Court. I am one of the attorneys for the Plaintiff, Novalk, LLC in
23
     the above-captioned action. If called upon to do so, I could competently testify to the matters
24

25
     contained herein.

26          2. On June 23, 2021, the Court issued an order setting a telephonic, attorneys-only

27   status conference on June 25, 2021. (ECF No. 8.) Based on the Court’s filing (ECF No. 11), I am

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                 DECLARATION OF ANDREW K. RAUCH IN RESPONSE TO ORDER TO SHOW CAUSE
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1    informed and believe that on June 25, 2021, the Court convened the status conference. (ECF No. 10.) I
2    did not appear at the conference.
3           3.       Thereafter the Court ordered me to appear on July 1, 2021 at 9:45 a.m. to show cause
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     why sanctions should not be imposed. Further, the Court ordered me to file a declaration regarding the
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     imposition of sanctions on or before June 29, 2021. (ECF No. 11.)
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            4.       I have not filed the required declaration as ordered by the Court. Nevertheless, I am
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     filing this late declaration to respond to the Court’s order.
8
            5.       My client and I agreed that new counsel would take over this matter before the June 25,
9
     2021 conference. I contacted new counsel and provided the file information to him. I believed that the
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     new counsel would appear and present a substitution of attorney form. However, I was not diligent in
11
     assuring that the proper substitution and related proposed order approving the substitution had been
12
     filed. New counsel later informed me that he would not be taking over the case.
13
            6.       During the month of June 2021, I employed associate counsel to assist me with my
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15
     cases. The last day of work for that associate counsel was June 25, 2021.

16          7.       I was not in the County on Monday, June 28, 2021 or Tuesday, June 29, 2021 as I was

17   employed by another client to appear in matters in the Central Valley of California.

18          8.       I do not provide this information to the Court as an excuse for my conduct in not

19   appearing at the Status Conference or for not timely filing this responsive declaration. I only provide
20   this information to the Court as an explanation for my conduct.
21          9.       I apologize to the Court for these failures and pledge diligence to the Court to secure
22   new counsel for my client in this matter. I shall appear at the hearing scheduled for 9:45 a.m. today.
23
            I declare under penalty of perjury under the laws of the United States that the foregoing is true
24
            and correct. As to those matters stated on information and belief, I believe the same to be true.
25
            Executed this first day of July, 2021.
26

27
                                                            BY:___/s/ Andrew Rauch__________
28                                                                Andrew K. Rauch, Declarant


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                 DECLARATION OF ANDREW K. RAUCH IN RESPONSE TO ORDER TO SHOW CAUSE
